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                                [English Translation]

                 DECLARATION OF ESCARLE R.
    RE: APPLICATION FOR GUARDIAN AD LITEM FOR PLAINTIFF
                          ISAIAS R.


      1.     I am an individual residing in the State of Michigan. The facts stated
in this declaration are based upon my own experience and observation. If called
upon to testify, I could and would testify competently to these facts.
      2.     I am over the age of 18 years and I am competent and willing to act in
the minor’s best interest.
      3.     I am the legal guardian and mother of Isaias R., a minor who was born
on 10/12/03. Isaias R. has been living with me since 10/12/03 and during this
time, I have acted in his best interest. I am seeking to represent the legal rights of
Isaias R. as his guardian ad litem, for the purposes of this legal action. I
understand my obligations in my capacity as guardian ad litem.
      4.     I have no financial interest in the outcome of this action.
      5.     I request an order approving my request to act as guardian ad litem for
Isaias R. a minor, who is a Plaintiff in this action.


      I declare under penalty of perjury under the laws of Michigan that the
foregoing is true and correct to the best of my knowledge and belief.


Executed on 9/1, 2016 in Detroit, Michigan.


                                                /s/
                                                Escarle R.
